                                             CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration     D
I, Christina Martinez                                                            _ _P_astran
                                                                            _ rian
                                                             counsel for___Ob_             _ _a___� do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):




        B
                        monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                   DISCLOSURE STATEMENT- FEDERAL RULES CIVIL PROCEDURE 7.1
                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:




                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 3 in Section VIII on the front of this form. Rule 3(a) provides that "A civil case is "related" to another
civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a substantial saving of
judicial resources is likely to result from assigning both cases to the same judge and magistrate judge." Rule 3(a) provides that· A civil case shall not be deemed "related" to another
civil case merely because the civil case involves identical legal issues, or the same parties.· Rule 3 further provides that
"Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (b), civil cases shall not be deemed to be "related" unless both cases are still pending
before the court."


                                       NY-E DIVISION OF BUSINESS RULE 1(d)
1.)
             County?                    □
             Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
                                         Yes        IZ)   No

2.)          If you answered "no" above:

                                        □
             a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
             County?                 Yes        IZ) No

             b) Did the events or omissions givi�rise to the claim or claims, or a substantial part thereof, occur in the Eastern
             District?         IZ) Yes          U No
             c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
             received:

If your answer to question 2 (b) is "No," does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in   inte!J2leader     on, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
                      a      Yes       �
Suffolk County?                                 No
             (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                         BAR ADMISSION

             I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                          IZI                Yes                                                □          No

             Are you currently the subject of any disciplinary action {s) in this or any other state or federal court?

                                          □                  Yes        (If yes, please explain                 IZI        No




             I certify the accuracy of all information provided above.

             Signature: _____�---�----
                                     -------------
                                                                                                                                                                        LastModified: 11/2712017
